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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,

    v.                                      Crim. Action No. 18-344 (EGS)

    JAROME F. SIMMONS,

                      Defendant.

    UNITED STATES OF AMERICA,

    v.                                      Crim. Action No. 19-93 (EGS)

    JOHN VICTOR REED,

                      Defendant.

                              MEMORANDUM OPINION

         Pending before the Court are Defendant John Victor Reed’s

(“Mr. Reed”) motion to dismiss and Defendant Jarome Simmons’s

(“Mr. Simmons”) 1 motion to dismiss. Defendants challenge the

authority of the United States Attorney for the District of

Columbia (“U.S. Attorney”) to implement and enforce a policy

that calls for certain individuals with a prior felony

conviction who are arrested for gun possession to be prosecuted

under a federal charge in the U.S. District Court for the

District of Columbia (“District Court”), rather than in the


1 The “true name” of Mr. Simmons is Bernard Byrd, and he refers
to himself as “Mr. Byrd” in his motion papers. See Simmons Mot.,
ECF No. 37 at 1. To avoid confusion, the Court refers to
defendant as Mr. Simmons, which is the name the government used
in the indictment and the name listed in the case caption. See
Indictment, ECF No. 1.
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Superior Court of the District of Columbia (“D.C. Superior

Court” or “Superior Court”). Mr. Reed contends that his case,

which prosecutors brought in this Court pursuant to the policy,

should be dismissed because the policy violates the Court Reform

and Criminal Procedure Act of 1970, 84 Stat. 473; the District

of Columbia Self-Government and Governmental Reorganization Act,

87 Stat. 774 (“Home Rule Act”); the Administrative Procedure Act

(“APA”); and the Due Process Clause. See Mot. Dismiss (“Reed

Mot.”), ECF No. 37 at 2, United States v. Reed, No. 19-cr-93

(2019). 2 Mr. Simmons joins Mr. Reed’s arguments, 3 and further

contends that the U.S. Attorney’s transfer of his case from

Superior Court to this Court prior to the policy’s adoption

constitutes prosecutorial harassment. See Mot. Dismiss (“Simmons

Mot.”), ECF No. 37 at 1, 10-18, United States v. Simmons, No.

18-cr-344 (2018). The government opposes. See U.S. Consolidated

Opp’n Defs.’ Mots. Dismiss (“Gov’t’s Opp’n”), ECF No. 48, United

States v. Reed, No. 19-cr-93 (2019). 4




2 When citing to electronic filings throughout this Memorandum
Opinion, the Court generally cites to the ECF header page
number, not the original page number of the filed document.
3 Mr. Simmons “adopts and incorporates by reference each of the

arguments set forth in Mr. Reed’s brief.” Reed Mot., ECF No. 37
at 19. The Court therefore cites only to Mr. Reed’s arguments
throughout this Memorandum Opinion, except for Mr. Simmons’s
additional prosecutorial harassment argument.
4 The government filed identical consolidated briefs in response

to the motions in both cases. See U.S. Consolidated Opp’n Defs.’
Mots. Dismiss, ECF No. 50, United States v. Simmons, No. 18-cr-
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     Upon careful consideration of the motions, oppositions, and

replies thereto, the amici curiae briefs, the applicable law,

and the entire record herein, the Court DENIES Mr. Reed’s motion

and DENIES Mr. Simmons’s motion.

I.   Background

       A. Factual Background

               1.    The   District of Columbia Court Reform and
                Criminal   Procedure Act, the Home Rule Act, and
                the Role   of the U.S. Attorney’s Office in the
                District   of Columbia

     Prior to Congress’s enactment of the Court Reform and

Criminal Procedure Act of 1970, original jurisdiction over all

felony cases resided in the District Court. See Palmore v.

United States, 411 U.S. 389, 392 n.2 (1973) (noting that the

“the District Court was filling the role of both a local and

federal court” prior to 1970). Under this format, however,

Congress had concluded that the District Court suffered from

“unmanageable” caseloads, and there was some confusion over the

overlapping jurisdiction of the federal and local courts in the

District. 5 Id. at 408.



344 (2018). For ease of reference, this Court cites only to the
government’s opposition that was filed in Mr. Reed’s case.
5 “Before passage of the District of Columbia Court Reform and

Criminal Procedure Act of 1970, the local court system consisted
of one appellate court and three trial courts, two of which, the
juvenile court and the tax court, were courts of special
jurisdiction. The third trial court, the District of Columbia
Court of General Sessions, was one of quite limited
jurisdiction, its criminal jurisdiction consisting solely of
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     The Court Reform Act attempted to alleviate this burden on

the District Court by “reliev[ing]” it “from the smothering

responsibility for the great mass of litigation, civil and

criminal, that inevitably characterizes the court system in a

major city.” Id. at 408-09; see also Thompson v. United States,

548 F.2d 1031, 1033-34 (D.C. Cir. 1976) (explaining the impact

of the Court Reform Act). The remedy was to “create an

independent judicial system to be responsible for ‘local’

matters, and . . . free the federal courts of the District of

that responsibility.” United States v. Belt, 514 F.2d 837, 842

(D.C. Cir. 1975) (internal quotation marks and citation

omitted). Under the new court system, the D.C. District Court

remained “devoted to matters of national concern,” while the

newly created D.C. Superior Court enjoyed functions “essentially

similar to those of the local courts found in the 50 States of

the Union with responsibility for trying and deciding those

distinctively local controversies that arise under local law,

including local criminal laws having little, if any, impact



that exercised concurrently with the United States District
Court over misdemeanors and petty offenses, D.C. Code Ann. § 11—
963 (1967). The court’s civil jurisdiction was restricted to
cases where the amount in controversy did not exceed $10,000,
and it had jurisdiction over cases involving title to real
property only as part of a divorce action. Id., §§ 11—961 and
11—1141. The judgments of the appellate court, the District of
Columbia Court of Appeals, were subject to review by the United
States Court of Appeals for the District of Columbia Circuit.
Id., § 11—321.” Palmore, 411 U.S. at 392 n.2.
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beyond the local jurisdiction.” Palmore, 411 U.S. at 408-09.

Pursuant to the Court Reform Act, the U.S. Attorney’s Office

retained the authority to prosecute all felonies in the

District. In reorganizing the court system to create the

Superior Court, Congress acknowledged that there would be

“[s]ome overlapping of jurisdiction” when the same person was

“accused of infractions which are both Federal and purely local

violations.” H.R. Rep. No. 91-907, 91st Cong., 2d Sess., 33

(1970). But rather than place that responsibility in the hands

of a local D.C. government entity, Congress determined at the

time that such cases could instead be handled “with minimal

procedural difficulties” by the U.S. Attorney’s Office for the

District. United States v. Shepard, 515 F.2d 1324, 1329 (D.C.

Cir. 1975).

     Three years after the Court Reform Act’s passage, Congress

enacted the Home Rule Act. The Home Rule Act “called for a

multi-stage transfer of operations from the federal to the

District government,” Thomas v. Barry, 729 F.2d 1469, 1470 (D.C.

Cir. 1984), and was intended as a “compromise between continued

congressional oversight and District autonomy,” Feldman v.

Bowser, 315 F. Supp. 3d 299, 303 (D.D.C. 2018). Although

Congress reserved the right to enact legislation concerning the

District on any subject, D.C. Code § 1-206.01, the Act also set

forth D.C.’s Charter, which established the means of governance

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of the District and essentially serves as its constitution,

Jackson v. Dist. of Columbia Bd. of Elections & Ethics, 999 A.2d

89, 123 (D.C. 2010); see also D.C. Code § 1–201.02

(“[D]elegat[ing] certain legislative powers to the government of

the District of Columbia . . . and, to the greatest extent

possible, consistent with the constitutional mandate,

reliev[ing] Congress of the burden of legislating upon

essentially local District matters.”). Executive power was

vested in a popularly elected mayor and judicial power in the

D.C. court system. See Clarke v. United States, 886 F.2d 404,

406-07 (D.C. Cir. 1989). The Charter also established the

Council of the District of Columbia (“D.C. Council”) as the

District’s legislative branch, and the Council was vested with

legislative power “extend[ing] to all rightful subjects of

legislation within the District.” See D.C. Code § 1–204.01; id.

§ 1–203.02. The Council was “expressly grant[ed] . . . , subject

to a sixty-day period when Congress can nullify such

legislation, the authority to enact ‘act[s], resolution[s], or

rule[s] with respect to’ . . . the titles pertaining to the

District’s substantive and procedural criminal law,” In re

Crawley, 978 A.2d 608, 610-11 (D.C. 2009), including the right

to enact gun laws, see Heller v. District of Columbia, 670 F.3d

1244, 1251 (D.C. Cir. 2011) (“[The District’s] authority in the

[Home Rule Act] over ‘all rightful subjects of legislation’

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affirmatively gives it the power to enact . . . gun laws.”).

However, the Home Rule Act specifically denied the D.C. Council

authority to change the “duties or powers” of the U.S.

Attorney’s Office, see D.C. Code. §1-206.02(a)(8), despite

requests to do so, see In re Crawley, 978 A.2d at 613.

     Thus, while Congress’s enactment of the two statutes in the

1970s substantially altered the organization of both the local

government and the court systems in the District, Congress chose

to keep intact the long-standing authority of the U.S.

Attorney’s Office to decide whether and how to prosecute the

majority of crimes committed in the District. See, e.g., 31

Stat. 1189, 1340 (March 3, 1901) (codifying U.S. Attorney’s

jurisdiction over “[a]ll” “criminal prosecutions” except

misdemeanor violations of “police or municipal ordinances or

regulations”). Accordingly, the U.S. Attorney’s Office in the

District of Columbia enjoys a unique role among federal

prosecutors in the United States. While other states and cities

select the officials who will prosecute local crimes, Congress

has determined that in the District of Columbia (“the District”

or “D.C.”), it is the U.S. Attorney who has the authority to

prosecute essentially all D.C. Code felonies and most D.C. Code

misdemeanors. See D.C. Code § 23-101(a)-(c). “The U.S. Attorney

is selected by the President without any requirement or even

custom of consultations with the District,” and can be “replaced

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by the President for no disclosed reason” and without first

consulting with District officials. John Payton, Should the

District of Columbia Have Responsibility for the Prosecution of

Criminal Offenses Arising Under the District of Columbia Code?,

11 U.D.C. L. Rev. 35, 37 (2008) (“With respect to who prosecutes

serious criminal offices arising under the D.C. Code, . . . the

District has traditionally had virtually no role.”). Further,

because “successive D.C. and federal prosecutions for the same

conduct are subject to the bar on double jeopardy,” unlike state

prosecutions, United States v. Mills, 964 F.2d 1186, 1193 (D.C.

Cir. 1992), this means that if the U.S. Attorney decides to

prosecute an individual for an offense under the U.S. Code in

federal court, then prosecution for an identical or lesser

included offense under the D.C. Code would be precluded in

Superior Court, see Shepard, 515 F.2d at 1331 (“[T]he double

jeopardy clause of the fifth amendment will bar separate

prosecutions under the federal and D.C. statutes for the same

offense, i.e., where the offenses are identical or where one

offense is a lesser included offense of the other.”).

     Here, this scheme implicates the substantively identical

felon-in-possession statutes under the federal and local codes.

At the local level, D.C. Code § 22-4503(a)(1) makes it a felony

for any person who “[h]as been convicted in any court of a crime

punishable by imprisonment for a term exceeding one year” to

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“have a firearm in his or her possession.” And at the federal

level, the nearly identical 18 U.S.C. § 922(g)(1) also prohibits

anyone “convicted in any court of[] a crime punishable by

imprisonment for a term exceeding one year” from possessing “any

firearm.” Although Section 922(g) includes a requirement that

the firearm in question has passed through interstate commerce,

“[t]here are no firearm manufacturers in the District of

Columbia.” See Reed Mot., ECF No. 37 at 19 n.16. As the parties

acknowledge, “the U.S. Attorney’s decision to prosecute felon-

in-possession offenses in this Court under federal law

affirmatively precludes prosecution in the Superior Court under

the District’s own locally enacted statutes.” Id. at 19-20.

               2.     The FIP Policy

     On February 1, 2019, the U.S. Attorney’s Office implemented

a policy under which it would prosecute certain defendants

arrested for unlawful possession of a firearm under an 18 U.S.C.

§ 922(g) charge in District Court, rather than under a D.C. Code

§ 22-4503(a) charge in the Superior Court. See Gov’t’s Opp’n,

ECF No. 48 at 8. The new policy, which this Court shall refer to

as the “FIP Policy,” marked a shift in the U.S. Attorney’s

strategy toward prosecuting felon-in-possession cases in the

city. “[W]hereas for the past decade or so the U.S. Attorney’s

Office has prosecuted many of the City’s felon-in-possession

cases in D.C. Superior Court pursuant to D.C. Code § 22-

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4503(a)(1),” under the FIP Policy, the U.S. Attorney committed

to bringing all qualifying cases in federal court pursuant to

Section 922(g) instead. Id. at 9. At the time of implementation,

the U.S. Attorney’s Office deemed a felon-in-possession arrest

to qualify for federal prosecution when the following three

factors were met: (1) the arrest originated in one of three

districts within the District of Columbia “experiencing the

highest rates of gun crime,” specifically, the Fifth, Sixth, and

Seventh Police Districts; 6 (2) the arrest was made on or after

February 1, 2019; and (3) the case did not involve a co-

defendant “with a non-felon-in-possession charge or additional

criminal conduct by the arrestee himself,” i.e., it was a

“stand-alone” case. Id. at 10. According to the government, all

cases that met the above three factors also were subject to the

“governing ‘principles of federal prosecution’” to ensure that

the prosecutors reasonably exercised their discretion with

respect to initiating prosecutions and selecting charges. Id.




6 According to amicus curiae the District of Columbia, the
geographic focus of the FIP Policy disproportionately affected
Black residents: “the majority of the residents of Districts 5,
6, and 7 are Black: 56.5% in Ward 5 (District 5), 92.1% in Ward
7 (District 6), and 92.1% in Ward 8 (District 7).” D.C. Amicus
Br., ECF No. 52 at 9; see also Gov’t’s Opp’n, ECF No. 48 at 33-
34 (conceding that the FIP Policy presented a “potentially
disproportionate impact on African-American men”). Purportedly
in response to this concern, the U.S. Attorney’s Office later
modified the policy to eliminate this focus. Cf. Gov’t’s Opp’n,
ECF No. 48 at 33-34.
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     The FIP Policy was the culmination of discussions between

the U.S. Attorney’s Office, the Metropolitan Police Department

of the District of Columbia (“MPD”), and the Federal Bureau of

Investigation (“FBI”) following the U.S. Attorney General’s

direction in March 2017 for “all U.S. Attorney Offices to

partner with state and local law enforcement and identify those

persons in their districts responsible for ‘significant violent

crime,’” including “‘coordinat[ing]’ with their ‘state and local

counterparts to identify the venue (federal or state) that best

ensures an immediate and appropriate penalty for these violent

offenders.’” Id. at 7. The Attorney General specifically

identified Section 922(g) as an offense “designed to target

violent crime.” Id.

     At the time of the Attorney General’s direction, the

District of Columbia was also experiencing a “significant

uptick” in gun-related homicides. Id. at 8. The alarming

statistics the government cites in its brief are worth noting in

full:

             Whereas the Nation’s murder rate had risen
             10.8%, the District of Columbia’s had risen
             nearly 40% in 2018 (MPD 2018 Annual Report,
             19). Moreover, of the District’s 160 homicides
             in 2018, 79% were committed with a gun (id. at
             19, 21). Further, 124 of them occurred in just
             three of the City’s seven police districts
             (id. at 19). Those same three districts—the
             Fifth, Sixth, and Seventh districts (“5D-7D”)—
             accounted for the vast majority of the illegal
             guns seized in 2018: 1263 of 1926 (id. at 25).

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          Finally, in 2018, about 40% of the District’s
          homicide suspects had a prior gun arrest and
          26% had a prior felony conviction (Newsham ¶4;
          see Washington Post, Homicides Were Up in
          2018.   Is   D.C.’s   Approach   to   Violence
          Prevention Working? (Jan. 11, 2019)).

Id. at 7-8.

     On February 6, 2019, D.C. Mayor Muriel Bowser, then-U.S.

Attorney Jessie Liu, and then-MPD Chief Peter Newsham announced

the adoption of the FIP Policy at a joint press conference. Id.

at 11. At the conference, however, instead of accurately

describing the three requirements that needed to be present for

federal prosecution under the FIP Policy, U.S. Attorney Liu

described the policy in almost all-encompassing terms. She

announced that: “[W]e had somewhere in the neighborhood of 300

[felon-in-possession cases] last year that were in Superior

Court, and we’re sort of phasing in bringing these cases in

District Court. So I think that at some point this year we’ll be

bringing essentially all of these in district court.” U.S.

Attorney Jessie K. Liu & Mayor Muriel Bowser, Press Conference

(Feb. 6, 2019), at 22:40,

https://www.youtube.com/watch?v=sAUn3C3BN4Y; see also Reed Mot.,

ECF No. 37 at 9; Gov’t’s Opp’n, ECF No. 48 at 12 n.14. She

further stated that the “focus” underlying the FIP Policy

“should be on not so much where we’re prosecuting these cases,

but what we’re doing to investigate these cases”—specifically,


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leveraging “federal law enforcement partners” to investigate the

felon-in-possession cases “thoroughly.” U.S. Attorney Jessie K.

Liu & Mayor Muriel Bowser, Press Conference (Feb. 6, 2019), at

10:04-40, https://www.youtube.com/watch?v=sAUn3C3BN4Y; Gov’t’s

Opp’n, ECF No. 48 at 12-13. Following the FIP Policy’s

announcement, ten of thirteen members of the D.C. Council

endorsed a formal resolution of censure denouncing the FIP

Policy. See P.R. 194, 2019 Council, 23rd Period (D.C. 2019); see

also Reed Mot., ECF No. 37 at 11.

     Mayor Bowser and Chief Newsham expressed their support for

the FIP Policy during the press conference. See Reed Mot., ECF

No. 37 at 9-10; Gov’t’s Opp’n, ECF No. 48 at 12-13. However,

after the government filed its opposition brief in this case—

which appears to be the first time the geographic scope of the

policy was publicly revealed—Mayor Bowser withdrew her support.

See Def.’s Notice of Suppl. Authority, ECF No. 54 at 1-2. Chief

Newsham also acknowledged that he was unaware of the FIP

Policy’s geographic targeting prior to the filing of the

government’s brief. Id.

     In August of 2020, following a “rigorous review” of the FIP

Policy and considerable backlash from portions of the D.C.

community, then-U.S. Attorney Michael Sherwin eliminated the

policy’s geographic focus. Gov’t’s Response to Court’s Min.

Order, ECF No. 66 at 2. He also modified the policy by

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instructing that Section 922(g) charging decisions pursuant to

the FIP Policy be based on “suspects’ criminal history and

whether they had previous gun charges,” as well as “prior

relevant conduct—including their age at the time and commission

of any violent offenses—and not simply the place of arrest.” Ex.

A, ECF No. 54-1 at 3.

       B. Procedural History

              1.     United States v. Simmons, 18-344

     On November 15, 2018, Mr. Simmons was arrested and

subsequently charged in the D.C. Superior Court with unlawful

possession of a firearm by a person convicted of a crime

punishable by imprisonment for a term exceeding one year, in

violation of D.C. Code § 22-4503(a)(1). See Simmons Mot., ECF

No. 37 at 1-2. Following his initial appearance in the case, and

pursuant to the government’s request for temporary detention,

see D.C. Code § 23-1322(c)(7), (d)(1), Mr. Simmons was held

without bond for three days until his detention and preliminary

hearing before the court, see Simmons Mot., ECF No. 37 at 2-3.

On November 19, 2018, a D.C. Superior Court magistrate judge

released Mr. Simmons to await trial under the High Intensity

Supervision Program. Id.

     The same day Mr. Simmons was released by the D.C. Superior

Court magistrate judge, a grand jury returned a one-count

indictment against Mr. Simmons, charging him with unlawful

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possession of a firearm and ammunition by a person convicted of

a crime punishable by imprisonment for a term exceeding one

year, in violation of 18 U.S.C. § 922(g)(1). See Simmons

Indictment, ECF No. 1. The federal indictment was based upon

facts substantively identical to those underlying the D.C.

Superior Court case. Simmons Mot., ECF No. 37 at 3.

     Mr. Simmons was arrested on the federal charge on November

30, 2018, and appeared before a magistrate judge the same day.

See Min. Entry (Nov. 30, 2018). The government again requested

temporary detention pending a detention hearing. Id. On December

4, 2018, the magistrate judge denied the government’s motion to

detain Mr. Simmons, and he was released into the High Intensity

Supervision Program. See Min. Entry (Dec. 4, 2018). This Court

removed Mr. Simmons from the High Intensity Supervision Program

and released him on his own recognizance on May 23, 2019. See

Min. Entry (May 23, 2019).

     On March 11, 2020, Mr. Simmons filed a motion to dismiss.

See Simmons Mot., ECF No. 37. The government filed its

opposition on July 3, 2020, see Gov’t’s Opp’n, ECF No. 50, and

Mr. Simmons filed his reply brief on August 28, 2020, see

Simmons Reply, ECF No. 54. The District of Columbia and the

American Civil Liberties Union of the District of Columbia

(“ACLU”) filed amicus briefs in support of Mr. Reed on April 21,

2020 and April 28, 2020, respectively. See D.C. Amicus Br., ECF

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No. 39; ACLU Amicus Br., ECF No. 42. The District of Columbia

further filed a reply to the government’s opposition on August

28, 2020. See D.C. Reply, ECF No. 53. The Court held a hearing

on Mr. Simmons’s motion to dismiss on May 19, 2021. See Min.

Entry (May 19, 2021). The motion is ripe for adjudication.

              2.     United States v. Reed, 19-cr-93

     On March 13, 2019, a grand jury returned a one-count

indictment against Mr. Reed, charging him with unlawful

possession of a firearm and ammunition by a person convicted of

a crime punishable by imprisonment for a term exceeding one

year, in violation of 18 U.S.C. § 922(g)(1). See Reed

Indictment, ECF No. 2.

     On March 10, 2020, Mr. Reed filed a motion to dismiss his

case. See Reed Mot., ECF No. 37. The government filed its

opposition on July 3, 2020, see Gov’t’s Opp’n, ECF No. 48, and

Mr. Reed filed his reply on August 28, 2020, see Reed Reply, ECF

No. 53. The District of Columbia and the ACLU filed amicus

briefs in support of Mr. Reed on April 21, 2020 and April 28,

2020, respectively. See D.C. Amicus Br., ECF No. 39; ACLU Amicus

Br., ECF No. 42. The District of Columbia further filed a reply

to the government’s opposition on August 28, 2020. See D.C.

Reply, ECF No. 52.   The Court held a hearing on Mr. Reed’s

motion to dismiss on May 19, 2021. See Min. Entry (May 19,

2021). The motion is ripe for adjudication.

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II.   Analysis

        A. The FIP Policy Does Not Violate the Court Reform Act
           or the Home Rule Act

      Set against the history of the Court Reform Act and the

Home Rule Act, described above, Mr. Reed contends that the FIP

Policy violates both statutes by “nullif[ying] the District of

Columbia’s locally enacted felon-in-possession statute and

strip[ping] the Superior Court of the District of Columbia of

authority to adjudicate those local offenses.” Reed Mot., ECF

No. 37 at 2. He contends that the statutes reflect Congress’s

intent that the D.C. Council and Superior Court take the “lead

role in setting local penal policy and in adjudicating ‘local

criminal laws.’” Id. at 14-15 (quoting Palmore, 411 U.S. at

409). He argues that the “categorical” FIP Policy “runs

roughshod” over this “carefully considered legislative scheme”

by “usurp[ing] the authority of the very local government that

Congress established.” Id. at 21. Under the current iteration of

the FIP Policy, however, Mr. Reed’s arguments are unpersuasive.

      “Decisions to initiate charges . . . ‘lie[] at the core of

the Executive’s duty to see to the faithful execution of the

laws.’” United States v. Fokker Servs., 818 F.3d 733, 741 (D.C.

Cir. 2016) (quoting Cmty. for Creative Non–Violence v. Pierce,

786 F.2d 1199, 1201 (D.C. Cir. 1986)). “[S]o long as the

prosecutor has probable cause to believe that the accused


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committed an offense defined by statute, the decision whether or

not to prosecute, and what charge to file or bring before a

grand jury, generally rests entirely in his discretion.”

Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978). And in the

District of Columbia specifically, “[w]hether prosecution is

brought in this jurisdiction under the D.C. Code or whether it

is brought under an applicable section of the United States Code

is a matter confided solely to the discretion of the United

States Attorney.” 7 Shepard, 515 F.2d at 1332 n.18 (quoting United

States v. Greene, 489 F.2d 1145, 1151 (D.C. 1973)).


7 While the prosecutor enjoys the discretion as to which charge
to bring in federal court, the D.C. Circuit has recognized that
district courts have “broad discretion” in making sentencing
decisions, including the discretion “to begin its analysis with
the U.S. Guidelines and end with the D.C. Guidelines.” United
States v. Washington, 670 F.3d 1321, 1323 (D.C. Cir. 2012)
(finding that the district court “did not err in failing to give
greater weight to appellant’s D.C. Code-based arguments”
pursuant to 18 U.S.C. § 3553(a)(2)). There are limits, however.
First, the D.C. Circuit has instructed that “sentence
disparities between the U.S. and D.C. guidelines are
insufficient to support a variance under § 3553(a)(6).” United
States v. Williams, 773 F.3d 98, 108 (D.C. Cir. 2014); see also
Washington, 670 F.3d at 1326-27; United States v. Clark, 8 F.3d
839, 843 (D.C. Cir. 1993). Second, the prosecutor’s discretion
to choose a federal charge over a local charge is not a
“mitigating circumstance” under Section 3553(b) because it is
not “linked to one of the stated purposes of sentencing” listed
in Section 3553(a)(2). Washington, 670 F.3d at 1326 (quoting
Clark, 8 F.3d at 842). Despite the above, however, it remains an
open question before the D.C. Circuit whether disparities
between the U.S. and D.C. guidelines would be sufficient to
support a variance under a Section 3553(a) factor other than
Section 3553(a)(6). Cf. Williams, 773 F.3d at 108-09 (noting
that the U.S. Guidelines were advisory only, but defendant had
“offered no argument that the D.C. Guidelines were relevant to
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     “Correspondingly, ‘judicial authority is . . . at its most

limited’ when reviewing the Executive’s exercise of discretion

over charging determinations,” Fokker, 818 F.3d at 741,

including when the charging determinations are made pursuant to

overall enforcement strategies and policies, see Wayte v. United

States, 470 U.S. 598, 600, 607-08 (1985) (affirming lawfulness

of a federal “enforcement policy under which the Government

prosecutes only those who report themselves as having violated

the law, or who are reported by others”); cf. United States v.

Mills, 925 F.2d 455, 461-62 (D.C. Cir. 1991) (upholding

Department of Justice policy in the District of Columbia,

pursuant to which the U.S. Attorney “transferred” criminal cases

from the Superior Court to District Court). “This broad

discretion rests largely on the recognition that the decision to

prosecute is particularly ill-suited to judicial review.” Wayte,

470 U.S. at 607. “Such factors as the strength of the case, the

prosecution’s general deterrence value, the Government’s

enforcement priorities, and the case’s relationship to the

Government’s overall enforcement plan are not readily

susceptible to the kind of analysis the courts are competent to

undertake.” Id.




his request for a variance in any way other than under §
3553(a)(6),” and Washington precluded that argument).
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     Prosecutorial discretion is, of course, not “unfettered.”

Id. at 608. “[T]he exercise of prosecutorial discretion, like

the exercise of Executive discretion generally, is subject to

statutory and constitutional limits enforceable through judicial

review.” Nader v. Saxbe, 497 F.2d 676, 679 n.19 (D.C. Cir.

1974). Nonetheless, “the presumption of regularity supports

their prosecutorial decisions and, in the absence of clear

evidence to the contrary, courts presume that they have properly

discharged their official duties.” United States v. Armstrong,

517 U.S. 456, 464 (1996) (cleaned up).

     Here, Mr. Reed has not established a statutory violation

under the Court Reform Act or the Home Rule Act to rebut the

presumption of regularity that applies to the U.S. Attorney’s

charging decisions.

     First, the FIP Policy does not “nullify” the D.C. Code

felon-in-possession offense or “strip” the Superior Court of its

adjudicatory role. Mr. Reed’s argument relies heavily on the

United States Court of Appeals for the District of Columbia

Circuit (“D.C. Circuit”) case United States v. Shepard, 515 F.2d

1324 (D.C. Cir. 1975). There, the court explained that “[t]he

federal and D.C. Criminal Codes ‘were intended to exist

together’ and ‘were intended to mesh with each other,’” and the

court rejected an argument that would have prohibited the U.S.

Attorney’s Office from bringing local charges when federal law

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would also apply. Shepard, 515 F.2d at 1333-34 (holding that the

government “is not as a general principle prevented from

simultaneously charging in one indictment offenses under similar

federal and D.C. statutes arising out of a single transaction”).

     However, Mr. Reed’s argument rests upon a misunderstanding

of the scope of the FIP Policy. Although Mr. Reed’s motion

describes the policy as “categorical” and as calling upon the

U.S. Attorney to “prosecute an entire swath of traditional local

crime in federal court,” Reed Mot., ECF No. 37 at 21, this is

incorrect. As the government explains in its opposition and

subsequent notices to the Court, the policy has never applied

city-wide. E.g., Gov’t’s Opp’n, ECF No. 48 at 28. Rather, when

the policy was first implemented in February 2019, a felon-in-

possession arrest qualified for federal prosecution only if: (1)

“it originate[d] in one of the three districts experiencing the

highest rates of gun crime”; (2) “it was made on or after

February 1, 2019”; and (3) “it [was] a ‘stand alone’ case, which

means it does not involve a co-defendant with a non-felon-in-

possession charge or additional criminal conduct by the arrestee

himself.” Id. at 10. In the event that a particular case met

that criteria, the prosecutor then also applied the “governing

‘principles of federal prosecution’” to ensure that the

prosecution served a “substantial federal interest.” Id. at 10-

11 & n.12.

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     Mr. Reed acknowledges his error—which the Court notes is

not entirely of his own making 8—in his reply brief, and attempts

to recover by contending that, “[t]o the extent the Initiative

continues to apply categorically in portions of the District,”

his arguments should prevail. Reed Reply, ECF No. 53 at 12 n.1

(emphasis added). However, again, Mr. Reed argument addresses a

policy that is not in place. After briefing on the motions

concluded, the FIP Policy was modified. According to the

government, in August of 2020, then-U.S. Attorney Michael

Sherwin changed the parameters of the policy by: (1) eliminating

its geographic focus; and (2) instructing that “§ 922(g)

charging decisions pursuant to the initiative be based on, inter

alia, an arrestee’s individual criminal history, including

whether he had committed any prior gun offenses or violent

crimes.” Gov’t’s Response, ECF No. 66 at 2.

     The D.C. Circuit in Shepard used the word “nullify” to

mean, in effect, that “a single prosecution under statutes from

both schemes was impossible.” 515 F.2d 1324. Here, because the

FIP Policy no longer includes a geographic focus and instead

looks to an individual’s particular history and circumstances,


8 The arguments in Mr. Reed’s motion are based upon statements
made by former U.S. Attorney Liu at the February 6, 2019 press
conference, specifically that her office intended to “bring[]
essentially all” felon-in-possession cases in federal court
after a “phasing in” period. See, e.g., Reed Mot., ECF No. 37 at
9.
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it does not apply “categorically” in any sense of the word.

Indeed, according to the government, during the year it

implemented the modifications to the FIP Policy, the U.S.

Attorney’s Office continued to bring the majority of felon-in-

possession arrests in Superior Court, not District Court.

Gov’t’s Response, ECF No. 66 at 3 (“[B]etween February 1, 2020

and February 28, 2021, the Office charged 87 ‘stand-alone’

felon-in-possession cases in District Court and 217 such cases

in Superior Court.”). Accordingly, because prosecution under the

D.C. Code is not rendered “impossible” under the FIP Policy, the

Court does not agree that the policy has nullified the local

statute or prevented the D.C. Superior Court from deciding such

cases.

     The Court also does not agree that Congress’s “carefully

considered distribution of local and federal power in the

District” has “come undone” as a result of the FIP Policy’s

implementation. Reed Mot., ECF No. 37 at 20-21. As explained

above, Congress’s enactment of the Court Reform Act and the Home

Rule Act in the 1970s substantially altered the organization of

both the local government and the court systems in the District.

Congress granted the District considerably more authority over

local matters; however, this authority was limited in many

respects. Most significantly, Congress chose to preserve the

U.S. Attorney’s authority over whether and how to prosecute most

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crimes committed in the District, and prohibited the D.C.

Council from enacting any legislation pertaining to the “duties

or powers” of the U.S. Attorney’s Office. D.C. Code § 23-101(a)-

(c); see also In re Crawley, 978 A.2d at 617-21 (“[W]e hold that

only Congress can alter the prosecutorial authority described in

Section 23-101(c), be it for felonies, misdemeanors, or other

crimes that fall within that subsection.”). And since the

passage of the Home Rule Act, “local officials” have continued

to lobby for “a city prosecutor to take over local functions

from the United States [A]ttorney for the District,” but all

have been unsuccessful. See, e.g., In re Crawley, 978 A.2d at

614. In view of the above, it is clear that Congress granted the

District the authority to enact local criminal laws, subject to

Congress’s right to repeal, and therefore control over local

penal policy, id. at 610-11, but also that Congress has

expressly excluded the U.S. Attorney’s Office from the checks

and balances of the D.C. government, cf. id. at 620 (holding

that the D.C. Council could not reassign prosecutions under the

false claims statute to the Office of the Attorney General for

the District of Columbia). Ultimately, “nothing in the language,

structure, or legislative history of” either statute suggests that

the U.S. Attorney should choose to prosecute one offense over

another. Batchelder, 442 U.S. at 123-24 (1979) (holding that

federal prosecutors could choose among overlapping statutes). And

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to the extent that Mr. Reed argues that a felon-in-possession

offense, standing alone, does not implicate any significant

federal interest, the Court disagrees. As the government points

out, in enacting Section 922(g), “Congress meant to reach

possessions broadly” and “buttress the States’ efforts” because

“State gun control laws were found ‘inadequate to bar possession

of firearms from those most likely to use them for unlawful

purposes.’” Scarborough v. United States, 431 U.S. 563, 575 n.11

(1977) (citation omitted); Gov’t’s Opp’n, ECF No. 48 at 28 n.27.

     Because the FIP Policy does not include any “categorical”

geographic scope, but instead relies upon the prosecutor’s

evaluation of an individual’s particular circumstances, Mr. Reed

has failed to establish that the FIP Policy unlawfully

“nullif[ies] the District’s local felon-in-possession statute,”

“strip[s] the Superior Court of jurisdiction over such

offenses,” or “usurps the local authority conferred on the

District by Congress.” Reed Mot., ECF No. 37 at 30. The Court

therefore concludes that the FIP Policy does not violate the

Court Reform Act or the Home Rule Act.

       B. The FIP Policy Is Not Reviewable Under the APA

     Mr. Reed next claims that the FIP Policy violates the APA

because the manner in which it was adopted was arbitrary and

capricious. Reed Mot., ECF No. 37 at 31; see also Reed Reply,

ECF No. 53 at 12. Before turning to this argument on the merits,

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the Court must first address whether the FIP Policy is

reviewable under the APA. 9

     “The APA establishes a ‘basic presumption of judicial

review [for] one ‘suffering legal wrong because of agency

action.’” Dep’t of Homeland Sec. v. Regents of the Univ. of

Calif., 140 S. Ct. 1891, 1905 (2020) (quoting Abbott

Laboratories v. Gardner, 387 U.S. 136, 140 (1967)). However, the

presumption can be rebutted by a showing that the relevant

statute “preclude[s]” review, 5 U.S.C. § 701(a)(1), or that the

“agency action is committed to agency discretion by law,” id. §

701(a)(2). The latter exception under Section 701(a)(2) is at

issue here.

     “[T]o honor the presumption of review,” the Supreme Court

has “read the exception in § 701(a)(2) quite narrowly.”

Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv., 139 S. Ct. 361,


9 The Court has jurisdiction over this claim. See 18 U.S.C. §
3231; United States v. Ross, 848 F.3d 1129, 1131 (D.C. Cir.
2017) (addressing criminal defendant’s motion to dismiss an
indictment on the ground that the government’s prosecution was
“defective” under the APA); United States v. Gould, 568 F.3d
459, 469-70 (4th Cir. 2009) (same); see also Judulang v. Holder,
565 U.S. 42, 52–53 (2011) (holding Board of Immigration Appeals’
“policy for deciding when resident aliens may apply to the
Attorney General for relief from deportation under a now-
repealed provision of the immigration laws” was arbitrary and
capricious); Office of Foreign Asset Control v. Voices in the
Wilderness, 382 F. Supp. 2d 54, 58 n.2 (D.D.C. 2005) (“[A]
defense under the APA and a claim under the APA both would seek
the same relief in the setting of this case—preventing
enforcement of the penalty that [the Government] seeks to
enforce.”).
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370 (2018) (quoting Lincoln v. Vigil, 508 U.S. 182, 191 (1993)).

Under this narrow reading, an action is “committed to agency

discretion” only if “the [applicable] statute is drawn so that a

court would have no meaningful standard against which to judge

the agency’s exercise of discretion.” Heckler v. Chaney, 470

U.S. 821, 830 (1985). In other words, when the applicable

statute does not provide “judicially manageable standards . . .

for judging how and when an agency should exercise its

discretion,” id., then a court has no choice but to dismiss the

case because there is “no law to apply,” Citizens to Preserve

Overton Park v. Volpe, 401 U.S. 402, 410 (1971) (quoting S. Rep.

No. 752, 79th Cong., 1st Sess., 26 (1945)). “In such a case, the

statute (‘law’) can be taken to have ‘committed’ the

decisionmaking to the agency’s judgment absolutely.” Chaney, 470

U.S. at 830. In determining “whether a matter has been committed

solely to agency discretion, [courts] consider both the nature

of the administrative action at issue and the language and

structure of the statute that supplies the applicable legal

standards for reviewing that action.” Drake v. FAA, 291 F.3d 59,

70 (D.C. Cir. 2002).

     Here, the applicable statutes do not provide a “meaningful

standard against which to judge the agency’s exercise of

discretion.” Chaney, 470 U.S. at 830; see also Crowley Caribbean

Transp., Inc. v. Pena, 37 F.3d 671 (D.C. Cir. 1994) (noting the

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presumption of unreviewability “may be rebutted by showing that

‘the substantive statute has provided guidelines for the agency

to follow in exercising its enforcement powers’”). As the

government points out, “[t]hose statutes designating the

President’s law-enforcement officers . . . simply direct that the

Attorney General shall ‘conduct’ the United States’ litigation, 28

U.S.C. § 516, and that the country’s U.S. Attorneys shall

‘prosecute’ all ‘offenses against the United States,’ id. §

547(1).” Gov’t’s Opp’n, ECF No. 48 at 35. The relevant applicable

felon-in-possession statutes also do not provide guidance. And Mr.

Reed does not contend otherwise. See Reed Reply, ECF No. 53 at 12-

16. There is thus “no law to apply” in reviewing the U.S.

Attorney’s weighing of its enforcement considerations. Overton

Park, 401 U.S. at 410.

     Moreover, as the D.C. Circuit explained in Secretary of

Labor v. Twentymile Coal Co., 456 F.3d 151 (D.C. Cir. 2006),

“with respect to criminal charging decisions, the Supreme Court

has made clear that the government’s decision ‘as to whom to

prosecute’ is generally unreviewable.” Id. (quoting Wayte, 470

U.S. at 607). “[S]o long as the prosecutor has probable cause to

believe that the accused committed an offense defined by

statute, the decision whether or not to prosecute, and what

charge to file or bring before a grand jury, generally rests

entirely in his discretion.” Id. (quoting Wayte, 470 U.S. at


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607); see In re Sealed Case, 131 F.3d 208, 214 (D.C. Cir. 1997)

(“In the ordinary case, the exercise of prosecutorial

discretion, at the very core of the executive function, has long

been held presumptively unreviewable.”). Indeed, in explaining

the types of administrative determinations that may evade review

under the APA, the D.C. Circuit cited to In re Sealed Case, 131

F.3d 208 (D.C. Cir. 1997), a non-APA case in which the court

held that the U.S. Attorney’s certification that there was a

“substantial federal interest” in a juvenile case “implicates

core prosecutorial judgment and discretion” and therefore is

normally “not subject to judicial review.” Id. at 216.

     Mr. Reed argues, however, that the FIP Policy is not a

matter “committed solely to agency discretion” because it is not

a “nonenforcement policy,” as described in Heckler v. Chaney,

470 U.S. 821 (1985).

     In Chaney, the Supreme Court held that “agency decisions to

refuse enforcement” are presumptively unreviewable under Section

701(a)(2). 470 U.S. at 831-32. In the case, a group of death row

prisoners petitioned the Food and Drug Administration (“FDA”) to

prevent the use in lethal injections of certain drugs that the

agency had not approved for that purpose. Id. at 823. The FDA

refused. Id. at 824. The FDA Commissioner explained that it was

“unclear” whether it had “jurisdiction over the unapproved use

of approved drugs for human execution.” Id. The Commissioner

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also asserted that, even if the agency did have jurisdiction, it

would “decline to exercise [that jurisdiction] under [its]

inherent discretion to decline to pursue certain enforcement

matters.” Id. at 824–25.

     The Court held that the APA precluded review of the

Commissioner’s decision, finding that such decisions have

“traditionally been ‘committed to agency discretion,’ and . . .

that the Congress enacting the APA did not intend to alter that

tradition.” Id. The Supreme Court gave four reasons for the

“general unsuitability for judicial review of agency decisions

to refuse enforcement”: such decisions (1) call for “a

complicated balancing of a number of factors which are

peculiarly within [the agency’s] expertise,” including “whether

agency resources are best spent on this violation or another,

whether the agency is likely to succeed if it acts, [and]

whether the particular enforcement action requested best fits

the agency’s overall policies”; (2) generally do not involve the

exercise of “coercive power over an individual’s liberty or

property rights, and thus d[o] not infringe upon areas that

courts are called upon to protect”; (3) provide no “focus for

judicial review,” in contrast to an affirmative action; and (4)

“share[] to some extent the characteristics of the decision of a

prosecutor in the Executive Branch not to indict—a decision

which has long been regarded as the special province of the

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Executive Branch.” Id. at 831-32. But the Supreme Court also

acknowledged that there could be exceptions to the rule. Id. at

833 n.4. Though the Court “express[ed] no opinion on whether

such decisions would be unreviewable,” it observed that judicial

review could be appropriate when an agency premises its

nonenforcement “solely on the belief that it lacks

jurisdiction”; and when “the agency has consciously and

expressly adopted a general policy that is so extreme as to

amount to an abdication of its statutory responsibilities.” 10 Id.

     Contrary to Mr. Reed’s argument, however, the D.C. Circuit

has explicitly stated that “refusals to act are not the only

kinds of administrative determinations that evade review.”

Twentymile, 456 F.3d at 156 (citing cases); see, e.g., Lincoln,

508 U.S. at 192 (finding an agency’s “allocation of funds from a

lump-sum appropriation is another administrative decision

traditionally regarded as committed to agency discretion”);

Steenholdt v. FAA, 314 F.3d 633, 634 (D.C. Cir. 2003) (holding

that because the decision not to renew an aircraft examiner’s

authority is committed to the Administrator’s discretion under

49 U.S.C. § 44702(d), judicial review of the substantive merits

of that decision is precluded under the APA); Baltimore Gas &




10The concurrence in Chaney characterized this exception as
covering situations in which “an agency engages in a pattern of
nonenforcement of clear statutory language.” Id. at 839.
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Elec. Co. v. FERC, 252 F.3d 456, 459–60 (D.C. Cir. 2001)

(holding that “FERC’s decision to settle its enforcement action

against Columbia was within the agency’s nonreviewable

discretion”). But see Robbins v. Reagan, 780 F.2d 37, 46 (D.C.

Cir. 1985) (rejecting Chaney’s application to a decision to

withhold federal funding from a homeless shelter). The question

of whether the FIP Policy is a nonenforcement policy is

therefore not dispositive.

     Neither is Mr. Reed’s reliance on Department of Homeland

Security v. Regents of the University of California, 140 S. Ct.

1891 (2020), persuasive. In Regents, the Supreme Court rejected

the government’s argument that the immigration program known as

Deferred Action for Childhood Arrivals (“DACA”) was a non-

enforcement policy and that its rescission was therefore

unreviewable. 140 S. Ct. at 1906. Under the DACA program, the

Department of Homeland Security had “solicited applications from

eligible aliens, instituted a standardized review process, and

sent formal notices indicating whether the alien would receive

the two-year forbearance.” Id. The Supreme Court explained that

“DACA is not simply a non-enforcement policy”; rather, it

involves proceedings that are “effectively adjudications,” and

as a “result of these adjudications—DHS’s decision to ‘grant

deferred action’ . . . is an ‘affirmative act of approval,’ the

very opposite of a ‘refus[al] to act.’” Id. (quoting Chaney, 470

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U.S. at 831–32). Further, a grant of deferred action in the DACA

program came with other attendant benefits, including work

authorization and access to public benefits like Social Security

and Medicare, which “provide[d] further confirmation” of the

Supreme Court’s conclusion that “DACA is more than simply a non-

enforcement policy.” Id. “Unlike an agency’s refusal to take

requested enforcement action, access to these types of benefits

is an interest ‘courts often are called upon to protect.’” Id.

(quoting Chaney, 470 U.S. at 832). In view of these aspects, the

Supreme Court ruled that “[b]ecause the DACA program is more

than a non-enforcement policy, its rescission is subject to

review under the APA.” Id. at 1907.

     Mr. Reed argues that, just as in Regents, the FIP Policy is

“more than a non-enforcement policy” because it is a “forum-

selection policy.” Reed Reply, ECF No. 53 at 16. But Regents

does not control here, and the FIP Policy is more akin to the

nonenforcement decision in Chaney than the DACA program. For

example, among other aspects, the FIP Policy does not constitute

administrative “adjudications,” nor does it confer benefits.

Although the U.S. Attorney’s Office may have already made the

decision to bring a case, the FIP Policy calls upon prosecutors

to balance case-specific factors, such as an individual

defendant’s criminal history, to determine whether to file

charges under the U.S. criminal code or the D.C. criminal code,

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which ultimately involves decisions regarding how to allocate

resources between District Court and Superior Court. And though

generally in the United States the decision regarding in which

venue to bring a case has not “traditionally been ‘committed to

agency discretion,’” 11 in the District of Columbia, the U.S.

Attorney’s Office “enjoys free rein in deciding whether to

prosecute in federal or in Superior Court, where the facts

support a violation of both local and federal law.” Clark, 8 F.3d

at 842; see also Bordenkircher, 434 U.S. at 364 (“[T]he decision

[of] what charge to file or bring before a grand jury, generally

rests entirely in [the prosecutor’s] discretion.”); Batchelder,

442 U.S. at 123-24 (“[W]hen an act violates more than one

criminal statute, the Government may prosecute under either so

long as it does not discriminate against any class of

defendants.”).

     Despite the above, however, the D.C. Circuit has held that

at least some general enforcement policies may be reviewable

under the APA. See OSG Bulk Ships, Inc. v. United States, 132

F.3d 808, 812 (D.C. Cir. 1998); Crowley, 37 F.3d at 676–77. Mr.




11Mr. Reed argues that courts play a role in protecting him from
unlawful “prosecutorial forum shopping,” but the case he cites
in support of his argument pertains to improper venue choice
between federal districts, not between the District Court and
Superior Court. See United States v. Morgan, 393 F.3d 192, 201
(D.C. Cir. 2004) (holding that the District of Columbia was an
improper venue when the facts required venue in Maryland).
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Reed thus contends that even if the Court finds that the U.S.

Attorney’s charging decisions are generally unreviewable under the

APA, this case “falls squarely” within the “line of precedent that

applies APA review to a ‘general enforcement policy,’ even where

such review might be unavailable for a ‘single-shot’ decision in a

given case.” Reed Mot., ECF No. 37 at 35.

     In Crowley Caribbean Transportation, Inc. v. Pena, 37 F.3d 671

(D.C. Cir. 1994), the D.C. Circuit addressed whether Chaney’s

presumption of unreviewability applied to the Maritime

Administration’s refusal to take an enforcement action under a

provision of the Merchant Marine Act of 1936 that the agency

thought was inapplicable as a matter of law. 37 F.3d at 672-73. In

the case, the court confirmed that enforcement decisions are

presumptively unreviewable. Id. But it further recognized in dicta

that “an agency’s statement of a general enforcement policy” may be

reviewable if it “actually lay[s] out a general policy delineating

the boundary between enforcement and non-enforcement and purport[s]

to speak to a broad class of parties.” Id. at 676-77. The court

explained that there are “ample reasons for distinguishing” between

an individual nonenforcement decision and a general enforcement

policy:

          By definition, expressions of broad enforcement
          policies are abstracted from the particular
          combinations of facts the agency would encounter
          in individual enforcement proceedings. As
          general statements, they are more likely to be
          direct interpretations of the commands of the
          substantive statute rather than the sort of

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           mingled assessments of fact, policy, and law
           that drive an individual enforcement decision
           and that are, as Chaney recognizes, peculiarly
           within the agency’s expertise and discretion.
           Second, an agency’s pronouncement of a broad
           policy against enforcement poses special risks
           that it “has consciously and expressly adopted
           a general policy that is so extreme as to amount
           to    an    abdication     of    its    statutory
           responsibilities,” Chaney, 470 U.S. at 833 n. 4,
           105 S. Ct. at 1656 n. 4 (internal quotation marks
           omitted), a situation in which the normal
           presumption    of   non-reviewability    may   be
           inappropriate. Finally, an agency will generally
           present a clearer (and more easily reviewable)
           statement of its reasons for acting when
           formally articulating a broadly applicable
           enforcement policy, whereas such statements in
           the context of individual decisions to forego
           enforcement tend to be cursory, ad hoc, or post
           hoc.

Id. at 677. The court noted, however, that “[t]his will not be true

in the ordinary case, . . . and the more reasonable inference when

faced with a context-bound non-enforcement pronouncement is that

the agency has addressed the issue in comparatively ad hoc terms

inherently implicating its non-reviewable enforcement discretion.”

Id.

      In reaching its decision, the D.C. Circuit relied on language

from ICC v. Brotherhood of Locomotive Engineers (“BLE”), 482 U.S.

270 (1987). Id. The Supreme Court in BLE held that the Interstate

Commerce Commission’s refusal to reconsider a decision on the basis

of “material error” was “committed to agency discretion by law”

under § 701(a)(2). 482 U.S. at 278-84. To refute the proposition

that “if [an] agency gives a ‘reviewable’ reason for otherwise




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unreviewable action, the action becomes reviewable,” the Court

explained:

             it is enough to observe that a common reason for
             failure to prosecute an alleged criminal
             violation is the prosecutor’s belief (sometimes
             publicly stated) that the law will not sustain
             a conviction. That is surely an eminently
             “reviewable” proposition, in the sense that
             courts are well qualified to consider the point;
             yet it is entirely clear that the refusal to
             prosecute cannot be the subject of judicial
             review.

Id. Crowley cited this passage, concluding that, “though not in the

Chaney    context,    [BLE]   squarely   rejects    the     notion   of   carving

reviewable    legal   rulings   out   from   the   middle    of   non-reviewable

actions.” Crowley, 37 F.3d at 676.

     The D.C. Circuit subsequently applied its observations

regarding the differences between individual nonenforcement

decisions and general enforcement policies in OSG Bulk Ships, Inc.

v. United States, 132 F.3d 808 (D.C. Cir. 1998). In OSG, the

plaintiff challenged the Maritime Administration’s policy that

permitted certain vessels, which were built with aid of a

federal subsidy and are limited to service in foreign trade, to

“enter domestic trade after the statutorily defined economic

life of the vessel expires.” 132 F.3d at 809. The court easily

concluded that the policy was not presumptively unreviewable

because it was not a “single-shot non-enforcement decision.” Id.

at 812.




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     Mr. Reed argues that Crowley and OSG, read together, stand for

the principle that general enforcement policies are always

reviewable. Reed Reply, ECF No. 53 at 18-19. He contends that this

conclusion is “confirmed” by BLE, which he claims makes clear that

“reviewability turns on the type of ‘formal action’ undertaken by

the agency, not the reason given.” Id. at 18.

     While such a reading is tempting, this Court does not construe

the cases so broadly. Rather, both Crowley and OSG “involved

nonenforcement decisions based solely on agency statutory

interpretation.” NAACP v. Trump, 298 F. Supp. 3d 209, 231 (D.D.C.

2018). The Crowley and OSG line of cases is therefore better

understood as applying the presumption of reviewability only when

an agency’s general enforcement policy is based on a legal

interpretation of the substantive statute. See, e.g., NAACP, 298 F.

Supp. 3d at 233 (“Properly understood,” the Crowley “exception to

Chaney’s presumption of unreviewability applies to a legal

interpretation phrased as a general enforcement policy, even if

that interpretation concerns the scope of the agency’s lawful

enforcement authority.”); MediNatura, Inc. v. FDA, 496 F. Supp. 3d

416 (D.D.C. 2020) (finding that “generalized non-enforcement

policies that are premised on interpretation of a statute” were

reviewable under the APA); K-V Pharm. Co. v. FDA, 889 F. Supp. 2d

119, 136 (D.D.C. 2012) (“Thus, in the cases where courts have

reviewed an enforcement policy, they have emphasized that their

review was limited to the question of whether or not the agency’s

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express statement of policy unlawfully construed a statute.”),

vacated and remanded on other grounds, 2014 WL 68499, *1 (D.C. Cir.

Jan. 7, 2014) (per curiam). Regarding BLE, “as Crowley recognized,

BLE addressed the reviewability of enforcement decisions only in

dictum; its actual holding concerned the reviewability of an

agency’s refusal to reconsider a prior decision.” NAACP, 298 F.

Supp. 3d at 232. Moreover, Crowley relied on BLE to reinforce its

holding that Chaney’s presumption applies to individual

nonenforcement decisions, not general policies. See id.; Crowley,

37 F.3d at 675-77 (distinguishing—for purposes of judicial review—

between individual enforcement decisions and implementation of

broad enforcement policies).

     “Such a conclusion reflects Crowley’s observation that review

of generalized non-enforcement policies is appropriate, in part,

because such policies ‘are more likely to be direct interpretations

of the commands of the substantive statute.’” MediNatura, 496 F.

Supp. 3d at 448 (quoting Crowley, 37 F.3d at 677). It also makes

sense as an extension of Chaney. In Chaney, for example, the

Supreme Court explained that the presumption of unreviewability may

be rebutted by showing that “the substantive statute has provided

guidelines for the agency to follow in exercising its enforcement

powers.” 470 U.S. at 833. And though the Court expressed no opinion

on the matter, generalized non-enforcement policies that are

premised on interpretation of a substantive statute “fit more

neatly within . . . the exceptions recognized in Chaney itself—

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situations in which an agency bases its refusal to initiate

enforcement ‘solely on the belief that it lacks jurisdiction,’”

MediNatura, 496 F. Supp. 3d at 448 (quoting Crowley, 37 F.3d at

677), and situations in which the agency has “consciously and

expressly” acted contrary to clear statutory commands, Chaney, 470

at 833 n.4. Moreover, such a reading also does not stand in

opposition to the weight of case law both parties cite in support

of their arguments. See, e.g., CREW v. FEC, 993 F.3d 880, 882 (D.C.

Cir. 2021) (declining to review Federal Election Commission’s

decision to dismiss complaint that “rested on two distinct grounds:

the Commission’s interpretation of FECA and its ‘exercise of . . .

prosecutorial discretion’”); Casa de Maryland v. United States,

924 F.3d 684, 699 (4th Cir. 2019) (reviewing Department of

Homeland Security’s decision to rescind DACA where agency

claimed decision to rescind “rested on discretionary enforcement

concerns and expressed the [agency’s] view about the scope of

its enforcement authority”); OSG, 132 F.3d at 812 (reviewing the

Maritime Administration’s interpretation of § 506 of the Merchant

Marine Act); Edison Elec. Inst. v. EPA, 996 F.2d 326, 333 (D.C.

Cir. 1993) (concluding challenge to EPA’s “interpretation” of

hazardous-waste-storage provision of Resource Conservation and

Recovery Act advanced in enforcement policy statement was “not the

type of discretionary judgment concerning the allocation of

enforcement resources that [Chaney] shields from judicial review”);

Nat’l Wildlife Fed’n v. EPA, 980 F.2d 765, 767-68 (D.C. Cir. 1992)

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(concluding that an EPA regulation based on agency’s

“interpretation” of Safe Drinking Water Act was subject to APA

review); NAACP, 298 F. Supp. 3d at 233 (addressing Department of

Homeland Security’s decision to rescind DACA because it lacked

proper statutory authority); Wildearth Guardians v. U.S. Dep’t of

Justice, 181 F. Supp. 3d 651, 657, 663-69 (D. Ariz. 2015) (holding

Department of Justice litigation policy was reviewable in which

prosecutors requested specific intent instruction for a federal

offense, but Congress had mandated a general intent instruction).

     In view of the above, Mr. Reed claims that the FIP Policy “is

‘based on the agency’s legal interpretation’ of the governing

substantive statute” because the U.S. Attorney’s Office “enacted

[the policy] because it believes ‘federal statutes prohibit the FBI

from investigating’ local ‘D.C. Code violations.’” Reed Reply, ECF

No. 53 at 19. However, the statute delineating the FBI’s

investigatory role is not a “substantive statute” within the

meaning of applicable precedent. It does not govern the U.S.

Attorney’s Office’s exercise of its enforcement powers, and thus

does not speak to the office’s overall authority or whether

prosecutors would be “abdicating” his or her statutory

responsibilities based on the agency’s interpretation. See Chaney,

470 U.S. at 833 n.4. Indeed, in the only case the parties provided

in which a court found that a Department of Justice policy was

subject to APA review, the “litigation policy” at issue had

“expressed a general policy of non-enforcement” that went “beyond

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simply prioritizing cases for prosecution” and instead

“rewr[o]te[]” an offense “to include a mens rea” of specific

intent. 12 Wildearth Guardians, 181 F. Supp. 3d at 657, 663-69

(“Choosing to not enforce 16 U.S.C.A. 1538(a)(1)(B), pursuant to

the guidelines set out in the Final Rule interpreting 16 U.S.C.

1540(b)(1) is arguably an abdication of DOJ’s duty under the ESA to

ensure that it uses its authority in furtherance of the purposes of

ESA, i.e.—to protect the Mexican gray wolf.”). And here, the FIP

Policy here does not include any interpretation of the U.S.C. §

922(g) offense or the D.C. Code § 22-4503(a)(1) offense.

     Accordingly, because the FIP Policy is not reviewable under

the APA, the Court denies Mr. Reed’s APA claim.

        C. The FIP Policy Does Not Raise a Presumption of
           Vindictive Prosecution

     Mr. Reed also argues that the FIP Policy violates the Due

Process Clause’s ban on vindictive prosecution because “the

circumstances surrounding the policy’s adoption and early

implementation create a reasonable likelihood that the



12Mr. Reed cited the panel decision appended to the en banc
decision in Cox v. United States, 472 F.2d 334 (4th Cir. 1973),
in claiming that “the Fourth Circuit has expressly held that
courts have the ‘authority to review’ a prosecutor’s decision to
prosecute someone in federal court as opposed to in state court
‘under the Administrative Procedure Act.’” Reed Mot., ECF No. 37
at 38. However, in granting the petition for rehearing, the en
banc court vacated the panel decision, and in the en banc
opinion, the court declined to “consider the question of
reviewability of the Attorney General’s exercise of the
discretion the statute vests in him.” Cox, 472 F.2d at 335, 337.
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[g]overnment decided to prosecute felon-in-possession defendants

in federal court at least in part to retaliate against

defendants who routinely and successfully asserted their

constitutional right to seek pretrial release in Superior

Court.” Reed Mot., ECF No. 37 at 46-47. For the reasons below,

the Court concludes that Mr. Reed does not succeed on this

claim.

     The prosecutorial vindictiveness doctrine “precludes action

by a prosecutor that is designed to penalize a defendant for

invoking any legally protected right available to a defendant

during a criminal prosecution.” Maddox v. Elzie, 238 F.3d 437,

446 (D.C. Cir. 2001) (internal citation omitted). “At the same

time, however, prosecutors have broad discretion to enforce the

law, and their decisions are presumed to be proper absent clear

evidence to the contrary.” United States v. Slatten, 865 F.3d

767, 799 (D.C. Cir. 2017) (citing Armstrong, 517 U.S. at 464).

“Thus, to succeed on a claim of vindictive prosecution, a

defendant must establish that the increased charge was ‘brought

solely to ‘penalize’ [him] and could not be justified as a

proper exercise of prosecutorial discretion.’” Id. (quoting

United States v. Goodwin, 457 U.S. 368, 380 n.12 (1982)).

     A defendant may prevail on a claim of prosecutorial

vindictiveness by establishing either “(i) evidence of the

prosecutor’s actual vindictiveness or (ii) evidence sufficient

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to establish a realistic likelihood of vindictiveness, thereby

raising a presumption the [g]overnment must rebut with objective

evidence justifying its action.” United States v. Safavian, 649

F.3d 688, 692 (D.C. Cir. 2011) (per curiam). “To prove actual

vindictiveness requires objective evidence that the prosecutor’s

actions were designed to punish a defendant for asserting his

legal rights. Such a showing is normally exceedingly difficult

to make.” United States v. Gary, 291 F.3d 30, 34 (D.C. Cir.

2002) (quoting Maddox, 238 F.3d at 446). “To invoke the

presumption of vindictiveness, [the court] must find that a

reasonable likelihood of vindictiveness exists—that is, that the

second indictment was ‘more likely than not attributable to the

vindictiveness on the part of’ the [g]overnment.” Id. (quoting

Alabama v. Smith, 490 U.S. 794, 801 (1989)). “[C]oncerns over

alleged vindictiveness do not relate to whether a prosecutor has

acted maliciously or in bad faith, but whether prosecutor’s

actions are designed to punish a defendant for asserting her

legal rights.” Id. at 35. Moreover, “[i]n a pre-trial setting,

‘the prosecutor’s assessment of the proper extent of prosecution

may not have crystallized,’ so an increase in charges may be the

result of additional information or further consideration of

known information, rather than a vindictive motive.” United

States v. Slatten, 865 F.3d 767 (D.C. Cir. 2017) (quoting

Goodwin, 457 U.S. at 381). “The routine exercise of many pre-

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trial rights also weakens any inference of vindictiveness, i.e.,

that a prosecutor would retaliate simply because a defendant

sought a jury trial or pleaded an affirmative defense.” Id.

(citing Goodwin, 457 U.S. at 381).

     “Where the defendant provides evidence sufficient to

support a presumption of vindictiveness, the burden shifts to

the government to produce ‘objective evidence’ that its

motivation in charging the defendant was lawful.” United States

v. Meadows, 867 F.3d 1305, 1312 (D.C. Cir. 2017) (quoting

Safavian, 649 F.3d at 694). “That burden is ‘admittedly minimal—

any objective evidence justifying the prosecutor’s actions will

suffice.’” Id. (quoting Safavian, 649 F.3d at 694). If the

government can produce objective evidence that its motive in

prosecuting the defendant was not vindictive, then “the

defendant’s only hope is to prove that the justification is

pretextual and that actual vindictiveness has occurred.” United

States v. Meyer, 810 F.2d 1242, 1245 (D.C. Cir. 1987). “But if

the government fails to present such evidence, the presumption

stands and the court must find that the prosecutor acted

vindictively.” Id.

     The evidence in this case does not support a claim of

actual vindictiveness, and Mr. Reed does not contend that it

does. See Reed Mot., ECF No. 37 at 46-47. Instead, Mr. Reed

proceeds on a theory of presumptive vindictiveness, arguing that

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the government adopted the FIP Policy in retaliation against

defendants who chose to seek pretrial release in D.C. Superior

Court. Id. Mr. Reed points out that while judges in the D.C.

Superior Court were releasing defendants pretrial in 55% of

cases in the months prior to the FIP Policy’s adoption, judges

in this District were releasing defendants in only 23% of cases.

Id. at 47. Mr. Reed argues that the government must have been

aware of this difference due to its role as “the only

institutional actor consistently appearing before both

[courts],” and thus acted to exploit this fact by moving an

“entire class of felon-in-possession defendants” to federal

court—in some cases, he claims, even defendants who had already

been released pending trial in Superior Court. Id.

     Mr. Reed’s argument, however, suffers from at least one

fatal roadblock: Mr. Reed never sought pretrial release in D.C.

Superior Court, and therefore he has not suffered an injury-in-

fact. Rather, pursuant to the FIP Policy, the government first

filed Mr. Reed’s case in this Court. See id. at 14. The initial

element required to establish a vindictive prosecution claim—

that a defendant assert a constitutional right, for which he was

punished—is not present here, and Mr. Reed therefore cannot say

that his Section 922(g) charge is in retaliation or a punishment

for his own actions.



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     Mr. Reed concedes that “[i]n the ordinary case, vindictive

prosecution claims are raised by individual defendants based on

rights that they personally invoked prior to the [g]overnment’s

vindictive action.” Reed Mot., ECF No. 37 at 48. But he asserts

that “by its very nature, the [g]overnment’s policy

affirmatively strips defendants—including Mr. Reed—of the

benefit of any opportunity to seek pretrial release in Superior

Court,” 13 and argues that the Court should therefore “assess Mr.

Reed’s vindictive prosecution claim from the perspective of the

relevant class of defendants, who invoked their right to seek

pretrial release in the Superior Court.” Id. He contends that,

because the FIP Policy “views, treats, and targets an entire

class of criminal defendants as a group,” id. at 50, “[a]ny

judicial effort to protect defendants against the policy must

therefore see the affected defendants as a group as well,” id.

at 52. In support of his argument, Mr. Reed notes that, in

contexts different from this case, “courts assessing

constitutional violations” have “observed that ‘a class of

indigent defendants may seek relief for a widespread,


13Although Mr. Reed’s argument assumes that, but for the
adoption of the FIP Policy, his case would have been filed in
D.C. Superior Court, the record does not include any evidence to
support this claim. It is undisputed that, prior to the FIP
Policy’s implementation, the U.S. Attorney’s Office chose to
file at least some portion of felon-in-possession cases in
federal court, including Mr. Simmons’s case. See Simmons Mot.,
ECF No. 37 at 2-4.
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systematic’ constitutional violation.” Id. at 51 (citing Kuren

v. Luzerne Cty., 146 A.3d 715, 743 (Pa. 2016); Hurrell-Harring

v. New York, 930 N.E.2d 217 (N.Y. 2010)).

     However, as the D.C. Circuit has explained,

“‘[p]rosecutorial vindictiveness’ is a term of art with a

precise and limited meaning,” and, pursuant to this doctrine, “a

prosecutorial action is ‘vindictive’ only if designed to

penalize a defendant for invoking legally protected rights.”

Meyer, 810 F.2d at 1245 (emphasis added). The Court is unaware

of any authority—and Mr. Reed provides none—that would permit

one defendant to pursue a vindictive prosecution claim on

another’s behalf where the defendant had not personally been

penalized or punished. Accordingly, in view of the D.C.

Circuit’s direction to construe such claims narrowly, the Court

declines to expand the meaning of prosecutorial vindictiveness

beyond “a situation in which the government acts against a

defendant in response to the defendant’s prior exercise of

constitutional or statutory rights.” Id. (citing Goodwin, 457

U.S. at 372).

     Even if this claim was properly before the Court, Mr. Reed

has not demonstrated a reasonable likelihood that the government

would not have adopted the FIP Policy had defendants facing

felon-in-possession charges in D.C. Superior Court not succeeded

in seeking pretrial detention in that court. Mr. Reed alleges

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that “the circumstances surrounding the policy’s adoption and

early implementation create a reasonable likelihood that the

[g]overnment decided to prosecute felon-in-possession defendants

in federal court at least in part to retaliate against

defendants who routinely and successfully asserted their

constitutional right to seek pretrial release in Superior

Court.” Reed Mot., ECF No. 37 at 47. Specifically, Mr. Reed

points to the government’s “consistent pattern” of behavior in

previous felon-in-possession cases that were transferred to D.C.

District Court from Superior Court. Id. at 54. As he describes

it:

           A Superior Court judge released the defendant
           pending trial. The Government then re-indicted
           the defendant in federal court for the exact
           same alleged offense, and immediately sought
           a second bite at the pretrial detention apple.
           As part of this maneuver, the Government
           unilaterally forced the released defendant to
           be re-arrested. See Fed. R. Crim. P. 9(a).
           Once the defendant was brought to Court, it
           then unilaterally forced a three-day period of
           incarceration by moving to continue the
           federal detention hearing that commences a
           federal   prosecution.    See   18   U.S.C.   §
           3142(f)(1)(E). The Government sought these
           continuances even though it had already
           litigated—and   lost—the    question   of   the
           defendant’s release at a local detention
           hearing. . . . Perhaps most strikingly, the
           Government   often   employed   these   tactics
           without mentioning to the federal magistrate
           judges that the defendants had been released
           by the Superior Court and were in full
           compliance with the terms of their release at
           the time of their federal re-arrest.


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Id. at 54-55.

     However, as the D.C. Circuit explained in Meyer, “proof of

a prosecutorial decision to increase charges after a defendant

has exercised a legal right does not alone give rise to a

presumption [of vindictiveness] in the pretrial context” because

“this sequence of events, taken by itself, does not present a

‘realistic likelihood of vindictiveness.’” Meyer, 810 F.2d at

1246 (quoting Goodwin, 457 U.S. at 381) (considering the

government’s “disparate treatment” of a defendant who exercised

a legal right; the “simplicity and clarity of both the facts and

law underlying [the prosecution]”; the “government’s conduct

after levelling [an] increased charge[] against [a]

defendant[]”; and “the government’s motivation to act

vindictively in this case”). For example, in United States v.

Mills, 925 F.2d 455 (D.C. Cir. 1991), the D.C. Circuit

considered the claims of three defendants who “were initially

charged in [D.C.] Superior Court, but those charges were later

dropped in favor of a subsequent prosecution in federal court

for the same criminal conduct, effectively ‘transferring’ the

cases from one court system to the other.” Mills, 925 F.2d at

226. The transfers took place pursuant to an “initiative to

crack down on drug-related crime in the nation’s capital” that

had been announced by “high-ranking officials in the Bush

administration” to “take advantage of the stricter penalties

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available under the federal sentencing guidelines.” Id. The D.C.

Circuit noted that the lower court had found that, “[i]n case

after case, the particular defendant whose case was transferred

had declined to plead guilty in Superior Court prior to his

indictment in this Court. Indeed, in several instances, the

relationship between the refusal to enter a guilty plea and

indictment in federal court was explicitly spelled out.” Mills,

925 F.2d at 463. However, despite these “circumstantial

findings,” the court concluded that there was otherwise “no

basis for finding that the transfer decisions were undertaken

somehow to penalize the appellees for the exercise of their

constitutional rights in D.C. Superior Court.” Id. at 232.

Rather, the record reflected that the cases had been transferred

upon the prosecutors’ reassessment of “the societal interest in

prosecution” and the government had provided a “consistent and

nonretaliatory explanation” for its decisions. Id. at 233.

     Similarly, here, there is “no fact beyond the mere sequence

of events to support any presumption of improper motivation.”

Id. at 232. As the government points out, the cases that Mr.

Reed describes were not transferred to this District pursuant to

the FIP Policy; rather, each predates the policy’s

implementation. See Gov’t’s Opp’n, ECF No. 48 at 50. According

to the government, because the cases were not analyzed pursuant

to the FIP Policy, they were “individually evaluated to

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determine” whether they merited transfer to this District. Crabb

Decl., ECF No. 48-3 ¶16. The Court finds no evidence to

discredit the government’s explanation or to deem it

inconsistent. Cf. Goodwin, 457 U.S. at 382 (“A prosecutor should

remain free before trial to exercise the broad discretion

entrusted to him to determine the extent of the societal

interest in prosecution.”). Further, “[g]iven Goodwin’s

unequivocal teaching that . . . a change of course in the

pretrial setting does not give rise to a presumption of

vindictiveness, a finding of vindictive prosecution could be

supported in this case only by evidence of actual vindictive

motivation beyond the mere sequence of events.” Mills, 925 F.2d

at 233. As stated above, however, the Court has not found actual

vindictiveness in this case, and neither has Mr. Reed asserted

any such vindictiveness exists.

     In view of the above, the Court therefore concludes that

the FIP Policy does not violate the Due Process Clause’s ban on

vindictive prosecution.

       D. The Prosecution of Mr. Simmons Does Not Constitute
          Prosecutorial Harassment

     Finally, Mr. Simmons contends his indictment must be

dismissed with prejudice because the government engaged in

“unlawful prosecutorial harassment” when it transferred his case

from D.C. Superior Court to this Court “to gain impermissible


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tactical litigation advantages,” namely, to maximize the

likelihood that he would be detained pretrial. Simmons Mot., ECF

No. 37 at 1, 10-18. Mr. Simmons argues that when a case has been

dismissed in one court and refiled in another to gain a position

of advantage or to escape from a position of less advantage, a

defendant can invoke the doctrine of prosecutorial harassment in

either of the two courts to seek dismissal of his case. Id. at

10-11. While this doctrine is most frequently invoked when the

government moves to dismiss an indictment pursuant to Federal

Rule of Criminal Procedure 48(a), 14 Mr. Simmons argues that “the

harassment doctrine’s core logic applies with equal force when

it is invoked . . . after the [g]overnment has already dismissed

charges in one forum and recharged the defendant in another,” as

is the case here. Id. at 11-12 (quotation marks and alterations

omitted). In Mr. Simmons’s view, the government’s conduct in

this case—which includes charging him first in D.C. Superior

Court, losing its pretrial detention motion there, and then

dropping that case to recharge him in this Court and seek

pretrial detention a second time—is precisely the sort of

“gamesmanship” that the prosecutorial harassment doctrine

prohibits. Id. at 13-14.


14Under Federal Rule of Criminal Procedure 48(a), the
“government may, with leave of court, dismiss an indictment,
information, or complaint.” Fed. R. Crim. P. 48(a); see also
United States v. Pitts, 331 F.R.D. 199, 202 (D.D.C. 2019).
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     The government, in opposition, argues that the Court “lacks

authority” to dismiss the indictment pursuant to Rule 48(a)

because “the government has never moved this Court to dismiss

any criminal charges against [Mr.] Simmons, which is a plain

language requirement” of the rule. Gov’t’s Opp’n, ECF No. 48 at

53. Rather than filing a motion to dismiss in D.C. Superior

Court, the government filed a Dismissal Praecipe after the grand

jury indicted Mr. Simmons on the federal charge in this case.

See Gov’t’s Opp’n, ECF No. 48 at 54. That praecipe was filed

pursuant to D.C. Superior Court Rule of Criminal Procedure

48(a)(1), which does not require leave of court. See D.C. Super.

Ct. R. Crim. P. 48(a)(1) (“The government may file a dismissal

or nolle prosequi of an information or complaint. Such a

dismissal is without prejudice unless otherwise stated. The

government may not dismiss the prosecution during trial without

the defendant’s consent.”). Id. at 54. Further, the government

argues that even if the Court did have the authority to dismiss

the indictment, Mr. Simmons has not rebutted the presumption of

validity that applies to a prosecutor’s charging decisions.

Gov’t’s Opp’n, ECF No. 48 at 56.

     The Court agrees with the government. Even assuming that

the Court has the authority, in the absence of a Rule 48(a)

motion, to dismiss Mr. Simmons’s indictment pursuant to a free-

standing prosecutorial harassment doctrine, see United States v.

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Fields, 475 F. Supp. 903, 907 (D.D.C. 1979) (holding, in the

alternative, that dismissal of second indictment against

defendant was appropriate under the theory that “the government

is not free to indict, dismiss, and reindict solely to achieve a

more favorable prosecutorial posture”), Mr. Simmons has not

shown that the prosecutor’s conduct in this case rises to the

level of harassment.

     “When the prosecutor’s discretion is challenged, the

prosecutor has the initial burden of explaining that a dismissal

without prejudice would be in the public interest.” United

States v. Florian, 765 F. Supp. 2d 32, 35 (D.D.C. 2011) (citing

United States v. James, 861 F. Supp. 151, 155 (D.D.C. 1994)).

“Once the prosecutor has discharged that threshold burden, its

decision is presumptively valid and the district court may not

substitute its judgment for that of the prosecutor even if it

might have reached a different conclusion were it presented with

the issue in the first instance.” Id. In order to set aside the

presumption of validity, the court must conclude that a

dismissal without prejudice “would result in harassment of the

defendant or would otherwise be contrary to the manifest public

interest.” United States v. Poindexter, 719 F. Supp. 6, 10

(D.D.C. 1989). Courts have found that government conduct

constitutes harassment if the reason for the dismissal is to

gain a tactical advantage. Id. at 12 (dismissing with prejudice

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when government’s reason for dismissal was to better position

its case); see also United States v. Borges, 153 F. Supp. 3d

216, 220 (D.D.C. 2015) (“[A] strategy of dismissing a case

without prejudice in order to bring it again under ‘more

advantageous’ circumstances is precisely the kind of ‘tactical

situation’ that is prohibited by Rule 48(a) and its progeny.”

(citing United States v. Salinas, 693 F.2d 348, 353 (5th Cir.

1982)). In other words, “the government [cannot] validly use

Rule 48(a) to gain a position of advantage, or to escape from a

position of less advantage in which it found itself as a result

of its own election.” Poindexter, 719 F. Supp. at 11 (citing

Salinas, 693 F. 2d at 353). Thus, “although there remains a

strong presumption in favor of a no-prejudice dismissal, the

ultimate decision in that regard depends upon the purpose sought

to be achieved by the government and its effect on the accused.”

Poindexter, 719 F. Supp. at 10.

     Here, the government asserts that it decided to dismiss the

D.C. Superior Court complaint and pursue a federal indictment

against Mr. Simmons because it believed that his “demonstrated

danger to the community merited a § 922(g) charge” and that a

federal charge “would lead to a more just sentence.” Gov’t’s

Opp’n, ECF No. 48 at 56. The government explains that on

November 16, 2018, Mr. Simmons was arraigned in D.C. Superior

Court. Crabb Decl., ECF No. 48-3 at 7 ¶ 15, 9. On the same day,

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the U.S. Attorney’s Office received a letter from then-MPD Chief

Newsham stating:

          We have long agreed that to reduce gun
          violence, we must deal more effectively with
          the people most likely to commit crimes with
          guns. An individual like Mr. [Simmons], who
          has already been convicted of multiple felony
          offenses and then chooses to possess a firearm
          illegally shows a clear disregard for the law
          and   poses  a   higher   risk  for   District
          residents. . . . Based on his criminal
          history, it is clear that Mr. [Simmons] poses
          a substantial danger to the community and
          should be detained pending trial.

Crabb Decl., ECF No. 48-3 at 7 ¶ 15, 9. “In light of Chief

Newsham’s letter,” the then-principal assistant U.S. Attorney

asked the Violent Crime and Narcotics Trafficking Section

(“VCNT”) 15 to review Mr. Simmons’s case for possible federal

prosecution. Id. The Bureau of Alcohol, Tobacco, Firearms, and

Explosives (“ATF”) 16 also referred the matter to the VCNT for

review. Id. The same day, the VCNT decided to charge Mr. Simmons

with violating Section 922(g) “[i]n light of [Mr.] Simmons’s

extensive criminal history, to include a conviction for an

assault involving a firearm.” Id. The government sought the




15 The Violent Crime and Narcotics Trafficking Section, which is
a section within the United States Attorney’s Office for the
District of Columbia’s Criminal Division, “handles most firearms
prosecutions brought in the district court.” See Crabb Decl.,
ECF No. 48-3 at 7 ¶ 14.
16 At the time, the ATF had detailed an attorney to the VCNT to

assist with the prosecution of Section 922(g) violations. See
Crabb Decl., ECF No. 48-3 at 7 ¶ 14.
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federal indictment on the following Monday, November 19, 2018,

which coincided with Mr. Simmons’s pretrial detention hearing in

D.C. Superior Court. Id.

     In view of the above, the government has “discharged its

initial burden” of explaining that the D.C. Superior Court

dismissal without prejudice was in the public interest. Florian,

756 F. Supp. 2d at 35; see also Poindexter, 719 F. Supp. at 11

(explaining that the question is not whether the government was

acting in bad faith, but rather whether the actions of the

government objectively amounted to harassment). D.C. Circuit

precedent also supports the government’s position. As detailed

above in Section II.C, “[i]t is established . . . that the U.S.

Attorney for the District of Columbia may elect to prosecute a

given criminal defendant on federal rather than District

charges, even though the former carry stiffer penalties.” Mills,

925 F.2d at 461 (citations omitted). “In fact, the prosecutor

may select one alternative charge over another precisely because

the selected offense carries a more severe sentence.” Id.

Moreover, “the prosecutor retains the right before trial to

change his mind and to re-indict a criminal defendant on more

serious charges if the prosecutor decides that the charges

initially brought do not adequately reflect the gravity of the

defendant’s conduct.” Id. (citing Goodwin, 457 U.S. at 381-82).

Accordingly, the government’s decision to recharge Mr. Simmons

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in federal court, rather than in D.C. Superior Court, was a

valid exercise of prosecutorial discretion.

     Mr. Simmons’s arguments to the contrary are unavailing. Mr.

Simmons argues that Chief Newsham’s letter to the U.S.

Attorney’s Office amounts to a “smoking gun” that shows that the

decision to transfer the case “was never about securing a ‘more

just’ federal sentence,” but rather an attempt to get “two bites

at the pretrial detention apple.” Simmons Mot., ECF No. 54 at 2-

3. Mr. Simmons argues that there are multiple tactical benefits

that flow from prevailing on a motion for pretrial detention in

federal court. Id. at 16-17 (noting, among other things, the

higher rates of pretrial detention in federal court versus D.C.

Superior Court, and that defendants detained pretrial are more

likely to receive longer prison sentences).

     The letter on its own, however, is not sufficient to

demonstrate a government scheme to gain unfair tactical

advantage. See Crabb Decl., ECF No. 48-3 at 7 ¶ 15. Though it is

true that the government does not explain why it chose to

proceed with the pretrial detention hearing in D.C. Superior

Court after it had already decided to seek the Section 922(g)

charge, it is undisputed that prior to any determination on

detention in D.C. Superior Court, the VCNT had already decided

to seek the federal charge. Gov’t’s Opp’n, ECF No. 48 at 56; see



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also Crabb Decl., ECF No. 48-3 at 7 ¶ 15; Hr’g Tr., ECF No. 75

at 58-59.

     The Court’s ruling today, however, should not be

interpreted as an endorsement of the government’s overall

conduct in this case, which unfortunately is not as “unusual” as

the Court previously believed. See, e.g., United States v.

Pitts, 331 F.R.D. 199, 205 (D.D.C. 2019) (describing

government’s decision to re-arrest defendant in this Court based

on the same alleged conduct underlying the first arrest in D.C.

Superior Court, while the defendant was fulfilling the

obligations of his D.C. Superior Court release conditions). Mr.

Simmons was arrested and detained twice based on the same

alleged criminal conduct. See Simmons Mot., ECF No. 34 at 3-4.

Following both arrests, the government requested an automatic

period of incarceration pending a formal detention hearing, and

in both cases, the courts denied the government’s detention

motions. Id. At the very least, the government’s conduct was

disruptive to Mr. Simmons’s life. See, e.g., Simmons Mot., ECF

37 at 4 (noting that, prior to his second arrest for this case,

Mr. Simmons was meeting with his social worker three to four

times a week, and that the government’s attempts to detain him

pretrial threatened his placement in a job training program).

Indeed, though the grand jury returned the Section 922(g)

indictment November 19, 2018, the government did not request

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that the D.C. Superior Court dismiss Mr. Simmons’s pending D.C.

Code complaint until January 25, 2019, resulting in, among other

things, Mr. Simmons receiving a “notice of non-compliance” in

the D.C. Superior Court based on his federal re-arrest for the

same alleged conduct. Id. at 4 n.2; Crabb Decl., ECF No. 48-3 at

8 ¶ 15.

     This Court has previously called strikingly similar

government conduct “disturbing” and “outrageous.” See Pitts, 331

F.R.D. at 205. However, such behavior, without more, does not

demonstrate an attempt to prosecute Mr. Simmons “under more

advantageous circumstances.” Borges, 153 F. Supp. 3d at 220; see

also Poindexter, 719 F. Supp. at 10 (explaining that case law

requires courts to assess not only the “effect on the accused,”

but also the “purpose sought to be achieved by the government”).

For example, in United States v. Pitts, 331 F.R.D. 199 (D.D.C.

2019), while the Court noted the “disturbing” facts surrounding

the defendant’s arrest—facts that largely mirror the facts in

this case—as support for its decision, the Court ultimately

dismissed the case with prejudice because the government’s “sole

reason” for seeking dismissal was to allow it additional time to

obtain DNA test results that it had failed to timely request.

Pitts, 331 F.R.D. at 204. Thus, because the government’s

“purpose” was “clearly tactical” and the “effect on the accused”

was harmful, the Court held that “it would be contrary to the

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 manifest public interest and amount to objective harassment to

 leave the threat of arrest and prosecution—for a third time—

 looming simply because the government seeks to cure its self-

 inflicted defects in this case.” Id. Similarly, in United States

 v. Armstrong, No. 2017 CF2 2998, 2019 WL 964532 (D.C. Super. Ct.

 Feb. 15, 2019), on which Mr. Simmons relies, the D.C. Superior

 Court dismissed the defendant’s indictment with prejudice

 because the government had sought to rebring the case in federal

 court specifically “to increase its chances of prevailing on the

 suppression motion.” Armstrong, 2019 WL 964532, at *4. Here, in

 contrast, the record does not support a finding that the

 government dismissed the D.C. Superior Court complaint to gain a

 tactical advantage.

       Accordingly, the Court denies Mr. Simmons’s motion with

 respect to this claim.

III.   Conclusion

       For the foregoing reasons, the Court DENIES Mr. Reed’s

 motion and DENIES Mr. Simmons’s motion. An appropriate Order

 accompanies this Memorandum Opinion.

       SO ORDERED.

 Signed:    Emmet G. Sullivan
            United States District Judge
            May 2, 2022




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